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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

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 Attorneys for NGM Insurance Company
 In re:                                                Chapter 11 (Subchapter V)

 ASSUNCAO BROS., INC.,                                 Case No. 22-16159 CMG

                                             Debtor.

                NGM INSURANCE COMPANY’S LIMITED OBJECTION TO
                      FEE APPLICATIONS [DOCS. 158 AND 159]
                         AND RESERVATION OF RIGHTS

         Creditor NGM Insurance Company (“NGM” or “Surety”) through its undersigned counsel,

 hereby files this limited objection (the “Limited Objection”) to the First Interim Application Of

 Fox Rothschild LLP as Counsel to the Debtor for Allowance of Compensation for Professional

 Services Rendered And Reimbursement of Expenses Incurred for the Period from August 3, 2022

 through October 31, 2022 [Doc. 158] (the “Fox Fee App.”) and the First Interim Application of

 KCP Advisory Group LLC as Financial Advisors to the Debtor for Allowance of

 Compensation for Professional Services Rendered and Reimbursement of Expenses Incurred for

 the Period from August 3, 2022 through October 31, 2022 [Doc. 159] (the “KCP Fee App.” and

 with the Fox Fee App., the “Fee Apps.”) and Reservation of Rights and respectfully states the

 following:



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         1.       NGM does not object to entry of interim orders approving the Fox Fee App. and

 the KCP Fee App. but files this Limited Objection to reserve its rights to seek disgorgement to the

 extent any trust funds were used to fund the retainers with Fox Rothschild LLP (“Fox.”) and/or

 KCP Advisory Group LLC (“KCP”), or are being used for any other professional fees, and NGM

 requests that language reserving such rights be included in any order approving the Fee Apps.

         2.       As described further below, the Debtor received trust funds prior to August 3, 2022

 (“Petition Date”) that the Debtor was required by law and the Indemnity Agreement (defined

 below) to apply in a specific manner which the Debtor’s principal admitted it did not always do.

 Following receipt of the trust funds, and prior to the Petition Date, the Debtor made payments to

 both Fox and KCP. Both Fee Apps. seek entry of interim orders permitting Fox and KCP,

 respectively, to apply their retainers to the awarded fees and expenses.

         3.       NGM’s investigation regarding the payment of trust funds to the Debtor, and the

 application and transfer of such funds by the Debtor, is ongoing. NGM files this Limited Objection

 to preserve its rights to seek disgorgement to the extent that it determines that trust funds that were

 paid to the Debtor pre-petition were used to fund the Debtor’s professionals.

 I       Background and Procedural History

         4.       NGM is a surety which, prior to the Petition Date, issued certain performance and

 payment bonds (“Bonds”) on behalf of the Debtor, as principal, including bonds for certain public

 owner obligees/counterparties (“Bonded Contract Owners”),1 arising out of certain public works


 1
    Bonded Contract Owners and Bonded Contracts include, but are not necessarily limited to: 1) the City of Jersey
 City, New Jersey (Dr. Martin Luther King, Jr. Intersection Safety Improvements – Replacing Existing Curb Ramps
 with new ADA –compliant Concrete Ramps, Concrete Sidewalks & Curb Work, Providing Pedestrian Signal
 Upgrades, Resetting Castings [project includes 8 intersections along Dr. Martin Luther King Drive]) and
 (Replacement of County Bridge Contract # 20002); 2) County of Somerset, New Jersey (Maintenance Contract
 Repairs of Various Park Commission Structures) and 3) (Replacement of County Bridge Belle Mead-Blawenburg Rd
 (CR 601) over Back Brook, Township of Montgomery, Somerset County, Replace Bridge, Contract No. 19008); 4)
 Township of Raritan (Sunny Hills Section II Road Reconstruction Improvements, Raritan Township); 5) Essex



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 contracts (“Bonded Contracts”), which Bonds relate to, and under which such Bonded Contracts

 the Debtor was performing (“Bonded Projects”) as of the Petition Date. (See Declaration of Eli

 Cinq-Mars dated August 17, 2022, Doc. 61-1 (the “Cinq-Mars Decl.”) at ¶ 3).

         5.       The Debtor’s schedules [Doc. 74] (the “Schedules”) show that the following pre-

 petition payments were made to Fox: $100,000 on July 8, 2022 and $85,000 on 7/29/22.

         6.       As set forth in the Fox Fee App. Fox held a $67,690.00 retainer (the “Fox Retainer”)

 as of the Petition Date. (Fox Fee App., ¶2).

         7.       The Schedules also show that KCP received the following pre-petition payments:

 $100,000 on July 8, 2022 and $85,000 on July 29, 2022.

         8.       As set forth in the KCP Fee App., KCP held a $98,168.75 retainer (the “KCP

 Retainer”) as of the Petition Date. (KCP Fee App., ¶2).

                                   NGM Bonds and Indemnity Agreement

         9.       Prior to the Petition Date, in order to induce NGM to issue the Bonds on behalf of

 the Debtor, the Debtor, as well as Martin Assuncao and Lisa Assuncao entered into agreements of

 indemnity in favor of NGM on or about July 20, 2012 and January 30, 2019 (“Indemnity

 Agreements”). (Cinq-Mars Decl. at ¶ 4).

         10.      The Indemnity Agreements dated July 20, 2012 and January 30, 2019 contain


 County, New Jersey (Park Avenue – Nine Traffic Signals and Road Improvements in Cities of Orange, East Orange
 and Newark, New Jersey) and 6) (Provide Nine Traffic Signals and Roadway Improvements, Countywide Signals
 and Roadway Improvements); 7) Township of Springfield (Caldwell Place Culvert Repair); 8) County of Ocean,
 New Jersey (Construction of Traffic Signal at the Intersection of Prospect Street & Massachusetts Avenue – Township
 of Lakewood); 9) Township of Monroe, New Jersey (Intersection Improvements Spotswood, Gravel Hill &
 Machaponix/Pergola Avenue Road Improvements); 10) County of Hunterdon, New Jersey (Resurfacing & Drainage
 Improvements for County Route 616, Road Improvements in the Township of Franklin, County of Hunterdon); 11)
 County of Somerset, New Jersey (Replacement of County Bridge Contract #20002 Replacement of Bridge); 12)
 Passaic County, New Jersey (Replacement of the Kingsland Road Bridge over the Third River, within the City of
 Clifton); 13) County of Middlesex, New Jersey (Improvements to Intersection of Forsgate & Rossmoor, Monroe
 Township); 14) Township of Piscataway, New Jersey (Drake Lane Improvements Phase II); 15) County of
 Monmouth, New Jersey (Replacement of Bridge U-15 on Breza Road over Doctor’s Creek, Upper Freehold and
 Allentown); and 16) County of Hudson, New Jersey (Improvement to JFK Boulevard from Pavonia Road). NGM
 also issued a fringe benefits bond no. S-324394.


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 identical indemnity clauses, provide NGM with a security interest in the Debtor’s equipment, and

 establish a trust fund with respect to payments received by the principal/contractor, as the

 Indemnity Agreements state in pertinent part:

        THIRD: The CONTRACTOR and INDEMNITORS shall exonerate, hold harmless,
        indemnify and keep indemnified the SURETY from and against any and all claims,
        demands and liability for losses, costs, and expenses of whatsoever kind or nature,
        including court costs, counsel fees, investigative costs, and from and against any and all
        other such losses and expenses which the SURETY may sustain or incur: (A) By reason
        of having executed or procured the execution of Bonds … (E) in prosecuting or defending
        any action or claim in connection with any Bond, whether SURETY at its sole option elects
        to employ its own counsel, or permits or requires CONTRA TOR and INDEMNITORS to
        make arrangements for the SURETY’S legal representation….

        FOURTH: The CONTRACTOR, and the INDEMNITORS as their interests may appear
        hereby assign, transfer and set over to SURETY the rights and property described hereafter,
        as collateral, to secure any and all obligations in this Agreement and any other indebtedness
        or liabilities of the CONTRATOR to the SURETY, whether heretofore or hereafter
        incurred… (B) All the rights, title and interest of the CONTRACTORS or INDEMNITORS
        in and to all machinery, equipment, plant, tools, inventory and materials which are now, or
        may hereafter be, utilized in connection with any contract, regardless of whether they are
        located at a construction site, in storage elsewhere, or in transit anywhere….

        EIGHTH: The CONTRACTOR and INDEMNITORS covenant and agree that all
        payments received for or on account of any CONTRACT shall be held in trust as a trust
        fund for the payment of obligations incurred or to be incurred in the performance of any
        CONTRACT and for labor, materials and services furnished in the prosecution of the work
        in any CONTRACT or any extension of modification thereof. It is expressly understood
        and declared that all monies due and to become due under any CONTRACT are also trust
        funds, whether in the possession of the CONTRACTOR or INDEMNITORS or otherwise.
        The trust funds shall be for the benefit and payment of all obligations for which the
        SURETY may be liable under any bonds. The trust shall incur to the benefit of the
        SURETY for all liability or loss it may have or sustain any bond, and this agreement and
        declaration constitute notice of such trust.

 (Cinq-Mars Decl. at ¶ 5).

        11.    The Debtor has received and may receive payments from Bonded Contract Owners

 on Bonded Contracts (“Bonded Contract Proceeds”), which constitute trust funds for the benefit

 of the Debtor’s laborers, subcontractors, suppliers and materialmen (“Trust Fund Beneficiaries”)

 on the Bonded Contracts, and for the benefit of NGM. (Cinq-Mars Decl. Id. at ¶ 6).



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                                Post-Petition Motions and Orders

        12.    In the Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing (A)

 Post-Petition Financing and (B) Use of Cash Collateral and Affording Adequate Protection; (II)

 Modifying the Automatic Stay; And (III) Scheduling A Final Hearing [Doc. 13] at ¶¶22-23, the

 Debtor acknowledges that Bonded Contract Proceeds may be trust funds:

               The Debtor believes that the progress payments, retainage, change order and
               claim proceeds that are outstanding and/or which may be earned and come due in
               the future with respect to the Bonded Projects (collectively, “Bonded Project
               Proceeds”), when paid by Project Owners may constitute trust funds for the
               benefits of laborers, subcontractors, suppliers and materialmen of the Bonded
               Projects pursuant to applicable state statutes. The Debtor further believes that
               such Bonded Project Proceeds may be subject to the interests of Surety under (i)
               the trust provisions of the Indemnity Agreement; (ii) where applicable, state
               statutes; and (iii) common law principles of subrogation to the extent Surety has
               made or may make payment under the Bonds (the “Trust Fund Beneficiaries”).

               For purposes of Debtor’s use of Cash Collateral, the Debtor seeks authority to
               segregate Bonded Project Proceeds from the proceeds and financing for Non-
               Bonded Projects in order to comply with certain statutory and common law
               obligations, such that when Bonded Project Proceeds are paid by Project Owners
               to the Debtor or its assigns such Bonded Project Proceeds constitute trust funds
               and shall be applied exclusively to satisfy Bond obligations and claims of Trust
               Fund Beneficiaries

        13.    The Final Order (I) Authorizing (A) Post-Petition Financing and (B) Use of Cash

 Collateral and Affording Adequate Protection; and (Ii) Modifying the Automatic Stay [Doc. 84]

 (the “Final DIP Order”) contains the following language regarding NGM in paragraphs 6 and AA:

               6. Prepetition Surety Bonds. Prior to the Petition Date, NGM executed certain
               performance and payment bonds (the “Bonds”) on behalf of the Debtor including
               the Bonds bearing bond numbers and for certain obligees (the “Project Owners”)
               of and for fourteen (14) of the Debtor’s ongoing construction projects (the “Bonded
               Projects”) which Bonds relate to certain of the contracts which the Debtor was
               performing under as of the Petition Date. The Debtor believes that progress
               payments, retainage, change order and claim proceeds that are outstanding and
               which may be earned and come due post-petition with respect to the Bonded
               Projects (collectively, the “Bonded Project Proceeds”), when paid by Project
               Owners m a y constitute trust funds for the benefit of laborers, subcontractors,
               suppliers, and materialmen of the Bonded Projects pursuant to applicable state



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            statutes. The Debtor further believes that such Bonded Project Proceeds may be
            subject to the interests of Surety under (i) the trust provisions of the Indemnity
            Agreement; (ii) where applicable, state statutes; and (iii) common law principles of
            subrogation to the extent Surety has made or may make payment under the Bonds
            (the “Trust Fund Beneficiaries”).
            …
            AA. Surety Bond Obligations. With respect to each of the Bonded Projects, NGM
            Insurance Company, or its past, present or future parents, subsidiaries or affiliates
            (the “Surety”) is authorized to have access to and use Bonded Contract Proceeds
            (which Bonded Contract Proceeds shall be turned over and/or paid to the Surety
            and need not be kept in a separate account by the Surety), as the Surety so
            reasonably determines, to complete the Bonded Contracts, to make payments to the
            Trust Fund Beneficiaries, to make payments for any obligations under the Bonds,
            and/or to make payment to the Surety for all losses, costs, and expenses of
            whatsoever kind or nature, including court costs, counsel fees, and/or investigative
            costs incurred by the Surety by reason of the Surety having executed a Bond or the
            Bonds. Nothing contained in the Motion, the Interim Order or this Final Order shall
            obligate the Surety to extend its Bonds to Debtor, as contracts of financial
            accommodation, or to otherwise provide additional Bonds to the Debtor. Nothing
            in the Motion, the Interim Order, this Final Order or the DIP Loan documents shall
            in any way prime or affect the rights of the Surety as to (a) any funds that the Surety
            is holding and/or that are being held for the Surety presently or in the future,
            whether in trust, as security, or otherwise, including any proceeds due or to become
            due to the Debtor in relation to contracts bonded by the Surety; (b) any substitutions
            or replacements of said funds including accretions to and interest earned on said
            funds; or (c) any letter of credit related to any indemnity, collateral trust, bond or
            agreements between or involving the Surety and the Debtor (collectively (a) to (c),
            the “Surety Assets”). Nothing in the Motion, Interim Order, this Final Order or the
            DIP Loan documents shall affect the rights of the Surety under any indemnity
            agreement, collateral trust agreement, and/or any related agreements between or
            involving the Surety and any of the Debtor or any of the Debtor’s nondebtor
            affiliates as to the Surety Assets or otherwise, including but not limited to the
            Agreements of Indemnity executed by the Debtor, Martin Assuncao and Lisa
            Assuncao on or about July 20, 2012 and January 30, 2019. In addition, nothing in
            the Interim Order, the Motion or the DIP Loan documents shall prime or otherwise
            impact: (x) setoff and/or recoupment rights or trust fund claims and/or the lien
            rights of the Surety or of any party to whose rights the Surety has or may become
            subrogated; and/or (y) any subrogation or other common law rights of the Surety.
            In addition, notwithstanding anything in the Motion, the Interim Order, this Final
            Order or the DIP Loan documents to the contrary, the rights, claims and defenses
            of the Surety, including but not limited to, the Surety’s rights under any properly
            perfected liens and claims and/or claim for equitable rights of subrogation are fully
            preserved. Nothing herein is an admission by the Surety or the Debtor, or a
            determination by the Bankruptcy Court, regarding any claims under any bonds, and
            the Surety and the Debtor reserves any and all rights, remedies and defenses in
            connection therewith. To the extent, if any, that the Debtor’s use of funds constitute


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               the use of the Surety’s cash collateral, the Surety shall have a replacement lien in
               the Debtor’s assets to the same extent, amount and priorities as existed as of the
               petition date. In addition, the Surety reserves its rights as to any issues concerning
               the Debtor’s use of funds. Notwithstanding the foregoing, nothing in this Order or
               the Consent Order (described below) shall prevent the U.S. Trustee, the Subchapter
               V Trustee, the Debtor, any creditor or parties in interest to review and challenge
               any determination, position, claim, lien or right asserted by the Surety.


        14.    In addition, the Order (I) Authorizing The Sale Of Certain Of The Debtor’s Assets

 to Vollers Excavating And Construction, Inc., (Ii) Approving Settlement With Manasquan Bank As

 Secured Lender, (III) Authorizing The Debtor To Enter Into Subcontracts With Vollers For Non-

 Bonded Projects, And (Iv) Authorizing The Debtor To Assume And Assign Certain Executory

 Contracts And Unexpired Leases [ Doc. 87] (the “Sale Order”) contains the following relevant

 language in Paragraph J.(1)(emphasis added) :

               NGM hereby agrees that it will not assert a claim against the Debtor’s estate that
               any funds being held by the Debtor’s estate or any funds that come into the Debtor’s
               estate hereafter shall be turned over to NGM in connection with the Shore System
               Trust Claim. This waiver shall not affect in any way and/or waive and release:
               (i) any other claim to trust funds in connection with funds being held or later
               held by the estate or any trust fund claims to accounts receivable for any other
               matter; (ii) any unsecured claim against the Debtor’s estate on account of any
               amounts paid by NGM to the Shore Systems, L.L.C. as a result of the failure of the
               Debtor to pay Shore Systems, Inc., the $348,075 plus fees and costs incurred by
               NGM in connection therewith, and (iii) any claim of NGM against any other
               party by way of indemnity or otherwise in connection with the Shore Systems
               Trust Claim including but not limited any claim of a liability as a transferee
               of any such trust funds or any claim for failing to cause the Debtor to properly
               pay said trust funds to Shore Systems, Inc., except that any such claim shall be
               reduced by any sums paid to NGM (net of costs to NGM) as a result of the
               litigation to be brought against Schiavone as described in Paragraph J(3)
               hereof. Nothing herein is a waiver of any defense by NGM to any claim brought
               by Shore Systems, Inc. against NGM or shall be deemed as an admission by NGM
               in connection therewith. Except as provided herein as to the Shore System Trust
               Claim, nothing herein shall affect the rights, lien, claims, and trust fund claims of
               NGM and its bond beneficiaries and the priority thereof as to any assets that are not
               part of the Vollers Transaction. The rights and defenses of the Debtor, the Debtor’s
               estate, and third parties with respect to any rights and claims reserved for NGM
               under this paragraph are preserved.




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        15.     In the Sale Order, ¶H, the Debtor acknowledged that NGM “asserts that the Debtor

 may be in possession of disbursed funds or come into possession of said funds in the future

 generated from certain Bonded Projects that constituted trust funds for, among others,

 subcontractors on those projects and NGM (including, but not limited, to approximately $348,075

 in trust funds that should have been paid to Shore Systems, L.L.C., in connection with the

 Monmouth County “Renovation of Bridge U-15” bonded project (the “Shore Systems Trust

 Claim”)) as described in the Declaration of Eli Cinq-Mars and its related exhibits filed at Docket.

 No. 76.”

        16.     Upon information and belief, the Debtor received payments on Bonded Contracts,

 including, without limitation, the $348,075 in trust funds that should have been paid to Shore

 Systems, L.L.C., that were not properly applied prior to the Petition Date and prior to payment of

 the retainers to Fox and KCP.

        17.     Based on a review of documents produced by the Debtor, it appears that the Debtor

 also received approximately $150,000 in trust fund payments from the County of Passaic

 ($128,246.13) and the Township of Raritan ($22,659.91) within 90 days prior to the Petition Date.

 NGM is continuing to investigate whether these trust funds received by the Debtors were properly

 applied.

        18.     There were additional trust fund payments made to the Debtor, and some of those

 additional trust fund payments may have been made within 90 days prior to the Petition Date.

 II     Limited Objection

        19.     As set forth above, the Sale Order specifically reserved NGM’s rights with respect

 “to any claim of NGM against any other party by way of indemnity or otherwise in connection

 with the Shore Systems Trust Claim including but not limited any claim of a liability as a transferee



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 of any such trust funds or any claim for failing to cause the Debtor to properly pay said trust funds

 to Shore Systems, Inc. and all of NGM’s rights with respect to all other Bonded Projects.”

          20.      Funds received by the Debtor on Bonded Contracts (all of which were public works

 projects in New Jersey) are required to be held in trust pursuant to the Indemnity Agreements and

 as per N.J.S.A. 2A:44–148 which provides the following:

                   All money paid by the state of New Jersey or by any agency, commission or
                   department thereof, or by any county, municipality or school district in the state, to
                   any person pursuant to the provisions of any contract for any public improvement
                   made between any such person and the state or any agency, commission or
                   department thereof, or any county, municipality or school district in the state, shall
                   constitute a trust fund in the hands of such person as such contractor, until all claims
                   for labor, materials and other charges incurred in connection with the performance
                   of such contract shall have been fully paid.

          21.      NGM does not object to entry of interim orders approving the Fee Apps. Rather,

 NGM files this Limited Objection to reserve its rights to seek disgorgement to the extent any trust

 funds were used to fund the retainer with Fox or KCP, or are being used for any other professional

 fees, and requests that the following language reserving such rights be included in any order

 approving the Fox Fee App and the KCP Fee App.: 2

          Notwithstanding the entry of this Order or anything set forth herein or in the fee
          applications [Doc. 158 and 159], NGM’s claims and rights against Fox Rothschild LLP
          and KCP Advisory Group LLC, if any, as a transferee of any trust funds are preserved, and
          nothing herein shall affect such rights and claims. The rights and defenses of Fox
          Rothschild LLP and KCP Advisory Group LLC with respect to any rights and claims
          preserved for NGM under this paragraph are preserved.


                                        RESERVATION OF RIGHTS

          22.      The submission of this Limited Objection by NGM is not intended as, and shall not

 be construed as: (a) NGM’s admission of any liability or waiver of any defenses or limitation of



 2 It should be noted that since the Fee Apps. are seeking interim orders, all rights should already be preserved with
 respect to the entry of final orders. However, NGM seeks the language set forth in paragraph 21 as a precaution.


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 any rights of NGM with respect to any claims against any one or more of the bonds or under any

 indemnity agreements in favor of the NGM; (b) NGM’s waiver or release of any right to

 exoneration it may have against anyone with respect to any of the bonds; (c) NGM’s waiver or

 release of its right to be subrogated to the rights of one or more of the parties paid in connection

 with the bonds; (d) an election of remedy; or (e) consent to the determination of the Debtor’s

 liability to NGM by any particular court, including, without limitation, the Bankruptcy Court.

        23.     NGM reserves the rights to object and put forth any argument in relation to any

 application for compensation.

        24.     NGM expressly reserves, and does not waive, any and all of its rights, claims,

 defenses, limitations, and/or exclusions in connection with the Debtor’s rights and obligations

 under the Indemnity Agreements, the bonds, applicable law, or otherwise. NGM further reserves

 all rights to assert any and all such rights, claims, defenses, limitations and/or exclusions in any

 appropriate manner or forum whatsoever (including, without limitation, any of its rights to have

 any non-core matter relating to the interpretation of its contractual rights and Debtor’s contractual

 obligations adjudicated by the United States District Court).

        25.     NGM further reserves all of its rights to raise any issues contained in this Limited

 Objection and any other related issues in any procedurally appropriate contested matter and/or

 adversary proceeding, including, without limitation, (i) objections to confirmation of any plan; (ii)

 a separate adversary proceeding requesting any appropriate declaratory and/or injunctive relief;

 (iii) or an objection to any subsequent motion seeking approval of an asset sale to any prospective

 asset purchaser with respect to any contractual rights that may be adversely affected by a sale

 motion or the confirmation of any plan.




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                                         CONCLUSION

        WHEREFORE, for the reasons set forth herein, NGM Insurance Company respectfully

 requests that any order entered granting the Fox. Fee App. and the KCP Fee App. include the

 language set forth herein preserving NGM’s rights, and for such further and other relief the Court

 deems appropriate.


                                              McELROY, DEUTSCH, MULVANEY
                                               & CARPENTER, LLP

 Dated: January 3, 2023                       /s/ Scott A. Levin
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